         Case 2:16-cv-02105-JAR Document 315 Filed 03/28/17 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                  )
                                            )
       Plaintiffs,                          )
                                            )
v.                                          )         Case No. 16-2105-JAR-JPO
                                            )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, )
                                            )
       Defendant.                           )
___________________________________ )


                                   NOTICE OF DEPOSITION

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30, counsel for

Defendant Kris Kobach, will proceed to take the deposition of Plaintiffs’ proffered expert Eitan

Hersh. The deposition shall commence on Monday, April 4, 2017, at 10 a.m. ET at Dechert

LLP located at 1 International Pl. Ste. 4000, Boston, MA 02110 or at such other time and

location agreed upon by the parties. The deposition shall be recorded stenographically, and shall

continue from day to day until completed before a person duly authorized to administer oaths who

is not counsel of record or interested in the events of this case. The oral examination is to be taken

for purposes of discovery, for use at trial, or for such other purposes as are permitted under the

Federal Rules of Civil Procedure and the local rules of the United States District Court for the

District of Kansas.



                                               Respectfully submitted this 28th day of March, 2017.

                                               /s/ GARRETT ROE
                                               Garrett Roe, #26867
                                               Kris. Kobach, #17280
                                               OFFICE OF THE SECRETARY OF STATE
         Case 2:16-cv-02105-JAR Document 315 Filed 03/28/17 Page 2 of 2




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                                              Attorneys for Defendants


                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on the 28th day of March, 2017, I electronically
filed the above and foregoing document using the CM/ECF system, which automatically sends
notice and a copy of the filing to all counsel of record.


                                              /s/ GARRETT ROE
                                              Garrett Roe, Bar No. 26867
                                              Attorney for Defendants
